      Case: 1:21-cv-05283 Document #: 14 Filed: 10/10/21 Page 1 of 14 PageID #:76

                                United States District Court
                                 NORTHERN DISTRICT OF ILLINOIS
                                              EASTERN DIVISION
 ALAN BRAID, Plaintiff                                               Case No: 21 cv 5283



                                                                                          FILED
 v

 OSCAR STILLEY, FELIPE GOMEZ, et al.                                                                                      CM
                                                                                                 10/10/2021
         Defendants

                                                                                                       . BRUTO    N
                                                                                             THOMA.SDG
                                                                                                     IS T R IC T COURT
                                                                                          CLERK, U.S
      GOMEZ MOTION FOR JUDICIAL NOTICE OF CORRECT COMPLAINTS IN
          GOMEZ V BRAID, 21 CI 19920 (Bexar County District Court, TX)


     NOW COMES INTERPLEADER DEFENDANT GOMEZ, and pursuant to 44 USC

1507 and FRE 201, respectfully MOVES this Court to take judicial notice of the attached:

     A. File stamped First Amended Complaint, which the Complaint [1] in this matter
         failed to attach, [1-1] not being the file stamped copy and not the actual first
         amended complaint. Attachment A - First Amended Texas UDJA Interpleader
         Complaint in 21 CI 19920.


     B. Proof of 10.9.21 Submission and Third Amended Interpleader Complaint in 21 CI
         19920 (File Stamping Pending). Attachment B - Proof of Submission and Third
         Amended Texas UDJA Interpleader Complaint in 21 CI 19920.

Respectfully Requested By:___Felipe Gomez, Pro Se_______ Date: 10.10.21
Felipe Gomez, Esq.

                           NOTICE OF FILING AND CERTIFICATE OF SERVICE

     Undersigned Felipe Gomez, Pro Se, hereby certifies that he personally emailed the foregoing Motion, as well as
this Certificate to the Court Pro Se Email, Temporary_E-Filing@ilnd.uscourts.gov, for filing by way of the U.S.
District Court for the Northen Illinois CM/ECF e-filing system, and that a full e-copy is e-mailed to the other parties
of record by way of the CM/ECF system, certifying on this date, 10.10.21, prior to such actual occurrence as it is a
weeekend.

     CERTIFIED BY:
     Dated: 10.10.21

Felipe Gomez, Pro Se
1922 W Belmont Ave
Chicago IL 60657
312.509.2071
fgomez9592@gmail.com
Case: 1:21-cv-05283 Document #: 14 Filed: 10/10/21 Page 2 of 14 PageID #:77




                              ATTACHMENT A

                         File Stamped 21 CI 19920 FAC
FILED
9/23/2021 10:52 PM Case: 1:21-cv-05283       Document #: 14 Filed: 10/10/21 Page 3 of 14 PageID #:78
Mary Angie Garcia
Bexar County District Clerk
Accepted By: Shaamid Gaitan
Bexar County - 224th District Court

                                      IN THE DISTRICT COURT OF TEXAS
                                               BEXAR COUNTY

             Felipe N. Gomez                                   Case No: 21CI 19920
             Taxpayer/Pro Choice Plaintiff
                                                               Uniform Declaratory Judgment Act, TCPRC Sec. 37
             v.                                                Texas Heartbeat Act (S.B. 8) Sec. 171.208


             Dr. Alan Braid,
             Provider
             Planned Parenthood, So. Austin
             Provider
             United States of America
             Interested Party
             The State of Texas
             Interested Party




                                              FIRST AMENDED COMPLAINT


                   NOW COMES FELIPE GOMEZ a U.S.A. Citizen, and “person”, as defined in Texas
            Heartbeat Act, Sec. 171.208, and per Tex. Civ. Prac. & Rem. Code Ann Sec 37
            (Declaratory Judgement Act) as to interpreting S.B. 8, and Sec.171.208 COMPLAINS
            and PRAYS as follows:


            1.     On information and belief Texas resident Defendant Dr. Alan Braid, 4499
                   Medical Drive, 230, San Antonio, TX 78229, admitted he performed an abortion
                   in Texas on or about 9.6.21 where his patient was more than 6 weeks pregnant,
                   and/or where the fetus had a detectable heartbeat, which Sec. 171.208(a)(1)
                   declares is illegal.


            2.     On information and belief, Defendant Planned Parenthood, South Austin
                   Abortion Center, Austin TX, also has performed abortions past the 6 week
                   deadline or when there was a detectable heartbeat, after 9.1.21, which S.B. 8
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       also holds is illegal.


3.     Plaintiff, a USA citizen and llinois resident, is not coordinating with Right to Life
       or and Pro or Anti abortion group, is acting independently, and is a “person” as
       defined in the Texas Hearbeat Act, which provides in relevant part:
              “Sec. 171.208. (CIVIL LIABILITY FOR VIOLATION OR AIDING OR
              ABETTING VIOLATION). (a) Any person, other than an officer or
              employee of a state or local governmental entity in this state, may bring a
              civil action against any person who: (1) performs or induces an abortion
              in violation of this subchapter; (b) If a claimant prevails in an action
              brought under this section, the court shall award: (1) injunctive relief
              sufficient to prevent the defendant from violating this subchapter or
              engaging in acts that aid or abet violations of this subchapter;
              (2) statutory damages in an amount of not less than $10,000 for each
              abortion that the defendant performed or induced in violation of this
              subchapter, and for each abortion performed or induced in violation of
              this subchapter that the defendant aided or abetted;


4.     Plaintiff asserts that Plaintiff, suing on the admission of defendant, clearly will
       likely qualify as “prevaling party” (also qualifying for a TRO, which Plaintiff
       would agree, to in order for Texas Court(s) to have first call on the legality of a
       state statute), should this matter proceed under S.B. 8.


       However, prior to litigating that claim, Plaintiff has a conflict as to what law
       applies in this matter, Roe v Wade, 410 U.S. 113 (1972), or S.B. 8, in regards to
       inter alia, whether prosecuting this complaint under S.B. 8 would be in violation
       of Federal Law as espoused in Roe, which confirms that the protections against
       invasion of privacy cannot be infringed by any State.


5.     To wit, and underlying Plaintiff’s request for a declaratory judgement prior to
       proceeding under S.B. 8, a Plaintiff intending to pursue an S.B. 8 action must
       consider that he or she may in fact be infringing an established personal
       Constitutional Right, with assistance from Texas, which, if S.B. 8 were ruled
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        illegal, might lead to a 42 USC 1985 lawsuit.


6.      Plaintiff asserts one major reason no practicing attorney has filed (in addition to
        a lack of witness/plaintiffs), is that an attorney has taken an oath to uphold and
        obey all valid laws, including the Texas and U.S. Constitution, and thus signing
        an S.B. 8 complaint, where there is already a TRO on Right to Life and any of its
        operatives (See 9.3.21 Judge Gamble Order in Planned Parenthood v Right to
        Life, D-1-GN-21-004632 (Travis Co, 53rd Dist), is something an attorney may not
        be willing to risk, until the conflict is resolved.


7.      Relatedly, Plaintiff here is respectful of the spirit of Her Honor Gamble’s just
        reviewed order, which by inference might be arguably extended to this
        complaint, and any complaint under S.B. 8, until the issues of whether S.B. 8 is
        legal under Federal Law is resolved.


8.      Plaintiff alleges that, by the letter of Federal Law, Defendant did not violate Roe
        v Wade, and that by that same letter, S.B. 8 appears to be Unconstitutional as
        written and as applied here until Roe v Wade is reversed or modified, or until a
        Texas or other Court clarifies and declares the relative import that a filing
        attorney or person need give to Roe when filing under S.B. 8.


9.      On information and belief Interpleader Defendants USA, Planned Parenthood
        and resident Defendant Braid oppose S.B. 8, and proposed additional party
        defendant Texas supports it, claiming an overriding interest in protecting “life”
        (despite it being the Law of the Land a fetus is not viable at 6 weeks and is not
        “alive”, albeit autonomous bodily functions have started) creating competing
        claims and interests, which could need to be determined before any suit can
        proceed under S.B. 8.


10.     USA is hereby joined as it has an interest, as an agent for The People, to speak
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        to its interests in enforcing the Constitution as expressed in Roe v Wade, or
        against S.B. 8, as well as Texas, in favor thereof, on behalf of (some) of the
        majority of The People, implicating the UDJA and TRCP 39(2)(i), where issues,
        objections or supporting evidence not preserved on the trial record, where
        there was an opportunity to make that record, may be considered waived on
        appeal.


11.     Defendants Planned Parenthood and Dr. Braid face inconsistent obligations, the
        latter to his practice and patients and his oath, the former to its patients, and
        both also are obligated to try to obey conflicting Texas and Federal Law, as to
        how and when he can perform an abortion, thus implicating TRCP 39(2)(ii).


12.     Plaintiff also faces inconsistent obligations and multiple risks, as Roe v Wade
        would seem to bar this lawsuit (and potentially lead to sanctions for signing a
        complaint where the underlying law appears to violate the Constitution and a
        lawyer is charged with knowing that before trying to use a law to gain legal
        precedent or monetary gain), given Roe positively declares that abortions are
        legal under these facts, yet S.B. 8 attempts to assert the opposite, in ignorance
        of the Supremacy and Commerce Clauses, as well as the Right of a person to be
        inviolate in their bodies for government intrusion.


WHERFORE, PLAINTIFF seeks the Court Declare whether the TRO in Planned
Parenthood v Texas Right to Life, D-1-GN-21-004632 (Travis Co, 53rd Dist) should be
extended to this, and all other suits under S.B. 8 until the issues there, here, and in USA
v Texas, 21cv796, and other cases are decided, after briefing by the stakehol ders, as to
whether the Act is legal, and enforceable, under Federal Law, as written and/or as
applied to the instant facts.

Submitted By: s/ Fe
                  lipeGomez, Pro Se               Date: 09.23.21

Felipe Gomez
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                         Automated Certificate of eService
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Envelope ID: 57562783
Status as of 9/27/2021 4:54 PM CST

Associated Case Party: FelipeNGomez

Name            BarNumber Email                 TimestampSubmitted     Status

Felipe NGomez             fgomez9592@gmail.com 9/23/2021 10:52:11 PM   SENT
Case: 1:21-cv-05283 Document #: 14 Filed: 10/10/21 Page 8 of 14 PageID #:83




                                ATTACHMENT B


             Proof of Submission and Unstamped TAC in 21 CI 19920 FAC
Proof of Submission
                          Case: 1:21-cv-05283 Document #: 14 Filed: 10/10/21 Page 9 of 14 PageID #:84
Submission ID: 58041773
Submission Date and Time: 10/09/21 07:16 AM CDST

  Case Information                                                                                                            Fees Breakdown

                                                                                   Client ID: FG                             Court Fees
 Case Title: Felipe N Gomez VS Alan Braid
                                                                                   Cause No: 2021CI19920
 Jurisdiction: Bexar County - 224th District Court                                                                           No Fee Documents
                                                                                   Attorney:
 Case Category: Civil - Other Civil
                                                                                   Filer: Felipe N Gomez                     Filing Fee                                      $0.00
 Case Type: Other Civil
                                                                                   Payment Account: FG
                                                                                                                             Total Fee For This Filing                       $0.00
                                                                                                                             Submission Fees
  Case Parties
                                                                                                                             FileTime Service Fee                            $0.00
 Party Type                      Name                                                          Our Client
                                                                                                                             Sales Tax on FileTime Fee                       $0.00
 Plaintiff                       Felipe Gomez                                                  Yes
                                                                                                                             Total Submission Fees                           $0.00
 Defendant                       Alan Braid                                                    No
                                                                                                                             Total Fees for this Submission                  $0.00
 Defendant                       The State of Texas                                            No

 Defendant                       United States of America                                      No                             Credit Card Information Breakdown
 Defendant                       Planned Parenthood                                            No
                                                                                                                             Your credit card statement will show:
 Defendant                       Oscar Stilley                                                 No
                                                                                                                             Pleading
 Defendant                       Wolfgang De Mino                                              No                            Jurisdiction (TXEFILE)                          $0.00

 Defendant                       Jane Roe II                                                   No                            eFiling Manager (Tyler (TX)file Conv Fee)       $0.00
                                                                                                                             There are no fees to be paid for this submission.
 Defendant                       Whole Women's Heatlh                                          No


                                                                                                                              Notes
  Filings
                                                                                                                             The above fees are estimates only and are subject to change
 Filing Type: eFile & eServe                                                                                                 after clerk review. You should not use this page for billing
                                                                                                                             purposes. Your firm eFiling Administrator should run a billing
 Filing                         Documents                                                                                    report under Admin > Reports.

 No Fee Documents                Document                          Type                    Security

                                 TACTitle.Corrected.pdf            Lead Document           Does not contain sensitive data

 Filing Comments:



  Service Recipients

 Name                            Firm Name                  Case Party                 Email

 Felipe Gomez                    n/a                        Felipe Gomez               fgomez9592@gmail.com



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                          IN THE DISTRICT COURT OF TEXAS
                                   BEXAR COUNTY

 Felipe N. Gomez                                   Case No: 21CI 19920
 Taxpayer/Pro Choice Plaintiff
                                                   Uniform Declaratory Judgment Act, TCPRC Sec. 37
 v.                                                Texas Heartbeat Act (S.B. 8) Sec. 171.208


 Dr. Alan Braid,
 Provider/Defendant

 Planned Parenthood, So. Austin
 Provider /Defendant


 United States of America
 Interested Party/Interpleader Defendant


 The State of Texas
 Interested Party/Interpleader Defendant


 Jane Roe II
 Patient/Interested Party/Interpleader Defendant


 Oscar Stilley
 SB 8 Plaintiff 2/Interpleader Defendant


 Wolfgang P. Hirczy De Mino, Ph.d.,
 Aka Texas Heartbeat Project
 SB 8 Plaintiff 2/Interpleader Defendant


 Whole Women’s Health
 Provider




                                 THIRD AMENDED COMPLAINT


        NOW COMES FELIPE GOMEZ a U.S.A. Citizen, and “person”, as defined in Texas
Heartbeat Act, Sec. 171.208, and per Tex. Civ. Prac. & Rem. Code Ann Sec 37
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(Declaratory Judgement Act) as to interpreting S.B. 8, and Sec.171.208 COMPLAINS
and PRAYS as follows:


1.     On information and belief Texas resident Defendant Dr. Alan Braid M.D. , 4499
       Medical Drive, 230, San Antonio, TX 78229, admitted he performed an abortion
       in Texas on or about 9.6.21 where his patient, Interpleader Defendant Jane
       Roe II, was more than 6 weeks pregnant, and/or where the fetus had a
       detectable heartbeat, which Sec. 171.208(a)(1) declares is illegal, as did
       Defendant Whole Women’s Health after Judge Pitman’s short-lived TRO..


2.     On information and belief, Defendant Planned Parenthood, South Austin
       Abortion Center, Austin TX, also has performed abortions past the 6 week
       deadline or when there was a detectable heartbeat, after 9.1.21, which S.B. 8
       also holds is illegal.


       Interpleader Defendants Oscar Stilley and Wolfgang P. Hirczy De Mino,
       Ph.d., aka “Texas Heartbeat Project”, filed lawsuits under SB 8 subsequent to,
       and competing and/or conflicting with this one, which are sought to be
       enjoined herein while this Court hears the current UDJA request.


3.     Plaintiff, a USA citizen and llinois resident, is not coordinating with Right to Life
       or and Pro or Anti abortion group, is acting independently, and is a “person” as
       defined in the Texas Hearbeat Act, which provides in relevant part:
              “Sec. 171.208. (CIVIL LIABILITY FOR VIOLATION OR AIDING OR
              ABETTING VIOLATION). (a) Any person, other than an officer or
              employee of a state or local governmental entity in this state, may bring a
              civil action against any person who: (1) performs or induces an abortion
              in violation of this subchapter; (b) If a claimant prevails in an action
              brought under this section, the court shall award: (1) injunctive relief
              sufficient to prevent the defendant from violating this subchapter or
              engaging in acts that aid or abet violations of this subchapter;
              (2) statutory damages in an amount of not less than $10,000 for each
              abortion that the defendant performed or induced in violation of this
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               subchapter, and for each abortion performed or induced in violation of
               this subchapter that the defendant aided or abetted;


4.     Plaintiff asserts that Plaintiff, suing on the admission of defendant, clearly will
       likely qualify as “prevailing party” (also qualifying for a TRO, which Plaintiff
       would agree, to in order for Texas Court(s) to have first call on the legality of a
       state statute), should this matter proceed under S.B. 8.


        However, prior to litigating that claim, Plaintiff has a conflict as to what law
       applies in this matter, Roe v Wade, 410 U.S. 113 (1973), or S.B. 8, in regards to
       inter alia, whether prosecuting this complaint under S.B. 8 would be in violation
       of Federal Law as espoused in Roe, which confirms that the protections against
       invasion of privacy cannot be infringed by any State.


5.     To wit, and underlying Plaintiff’s request for a declaratory judgement prior to
       proceeding under S.B. 8, a Plaintiff intending to pursue an S.B. 8 action must
       consider that he or she may in fact be infringing an established personal
       Constitutional Right, with assistance from Texas, which, if S.B. 8 were ruled
       illegal, might lead to a 42 USC 1985 lawsuit.


6.     Plaintiff asserts one major reason no practicing attorney has filed (in addition to
       a lack of witness/plaintiffs), is that an attorney has taken an oath to uphold and
       obey all valid laws, including the Texas and U.S. Constitution, and thus signing
       an S.B. 8 complaint, where there is already a TRO on Right to Life and any of its
       operatives (See 9.3.21 Judge Gamble Order in Planned Parenthood v Right to
       Life, D-1-GN-21-004632 (Travis Co. 53rd Dist)), is something an attorney may not
       be willing to risk, until the conflict is resolved.


7.     Relatedly, Plaintiff here is respectful of the spirit of Her Honor Gamble’s just
       reviewed order, which by inference might be arguably extended to this
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        complaint, and any complaint under S.B. 8, until the issues of whether S.B. 8 is
        legal under Federal Law is resolved.


8.      Plaintiff alleges that, by the letter of Federal Law, Defendant did not violate Roe
        v Wade, and that by that same letter, S.B. 8 appears to be Unconstitutional as
        written and as applied here until Roe v Wade is reversed or modified, or until a
        Texas or other Court clarifies and declares the relative import that a filing
        attorney or person need give to Roe when filing under S.B. 8.


9.      On information and belief Interpleader Defendants USA, Planned Parenthood
        and resident Defendant Braid oppose S.B. 8, and proposed additional party
        defendant Texas supports it, claiming an overriding interest in protecting “life”
        (despite it being the Law of the Land a fetus is not viable at 6 weeks and is not
        “alive”, albeit autonomous bodily functions have started) creating competing
        claims and interests, which could need to be determined before any suit can
        proceed under S.B. 8.


10.     USA is hereby joined as it has an interest, as an agent for The People, to speak
        to its interests in enforcing the Constitution as expressed in Roe v Wade, or
        against S.B. 8, as well as Texas, in favor thereof, on behalf of (some) of the
        majority of The People, implicating the UDJA and TRCP 39(2)(i), where issues,
        objections or supporting evidence not preserved on the trial record, where
        there was an opportunity to make that record, may be considered waived on
        appeal.


11.     Defendants Planned Parenthood and Dr. Braid face inconsistent obligations, the
        latter to his practice and patients and his oath, the former to its patients, and
        both also are obligated to try to obey conflicting Texas and Federal Law, as to
        how and when he can perform an abortion, thus implicating TRCP 39(2)(ii).


12.     In addition to the competing lawsuits, where this action came first, Plaintiff also
        faces inconsistent obligations and multiple risks, as Roe v Wade would seem to
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        bar this lawsuit (and potentially lead to sanctions for signing a complaint where
        the underlying law appears to violate the Constitution and a lawyer is charged
        with knowing that before trying to use a law to gain legal precedent or monetary
        gain), given Roe positively declares that abortions are legal under these facts,
        yet S.B. 8 attempts to assert the opposite, in ignorance of the Supremacy and
        Commerce Clauses, as well as the Right of a person to be inviolate in their
        bodies for government intrusion.




WHEREFORE, PLAINTIFF seeks the Court Declare whether the TRO in Planned
Parenthood v Texas Right to Life, D-1-GN-21-004632 (Travis Co, 53 rd Dist) should be
extended to the SB 8 component of this suit, and all other suits, including Tilley v
Braid, 2021CI19940 (Bexar Co. Tx) and De Mino v Braid, 21-2276-C (Smith Co. Tx) and
all suits under S.B. 8 or as to the same relief sought here, here, until the issues here are
decided, after briefing by the stakeholders whom this second amendment further
includes, and that this Court declare its findings as to whether the S.B. 8 Texas
Heartbeat Act is legal, and enforceable, under Federal Law, as written and/or as
applied to the instant facts, and whether suing a doctor under SB 8 violates 42 USC 1985 and
RICO.
